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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ADAN MELVIN GALINDO GOMEZ,          )
a/k/a ADAN GALINDO                  )
                                    )
                  Plaintiff,        )
                                    )
       v.                           )   Civil Action No. 19-3456 (ABJ)
                                    )
UNITED STATES CITIZENSHIP           )
AND IMMIGRATION SERVICES,           )
                                    )
                  Defendant.        )
____________________________________)


                         MEMORANDUM OPINION AND ORDER

       Plaintiff Adan Melvin Galindo Gomez has moved to alter and/or amend the Court’s

November 13, 2020 Order, which granted defendant’s motion to dismiss, denied plaintiff’s motion

for partial summary judgment, and denied as moot defendant’s alternative motion to transfer.

Pl.’s Rule 59(e) Mot. to Alter and/or Amend J. [Dkt. # 23] (“Mot.”); Pl.’s Mem. in Supp. of Mot.

[Dkt. # 23-1] (“Mem.”); see also Gomez v. USCIS, No. 19-3456, 2020 WL 7419674

(D.D.C. Nov. 13, 2020). Defendant opposes the motion. Def.’s Opp. to Rule 59(e) Mot. to

Amend or Alter J. [Dkt. # 24] (“Opp.”). Because plaintiff’s motion fails to identify any basis

for disturbing the prior decision, the Court will deny the motion.

                                        BACKGROUND

       The Court detailed the factual and procedural background in its previous memorandum

opinion, so it will simply summarize it here. See Gomez, 2020 WL 7419674, at *1–2. Plaintiff is

a citizen of El Salvador who resides in Arlington, Texas, and he applied to adjust his

immigration status from Temporary Protected Status (“TPS”) to that of a lawful permanent
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resident in June 2018. Id. The United States Citizenship and Immigration Services (“USCIS”)

denied his request in July 2019, on the grounds that he was ineligible as a non-arriving alien subject

to deportation proceedings that were instituted in 1994. Id.

       Plaintiff filed this action in November 2019, Compl. [Dkt. # 1], and he amended his

complaint in March 2020. Am. Compl. [Dkt. # 10] (“First Am. Compl.”). He asked the court to

declare the denial of his immigration status adjustment unlawful and to compel USCIS to

re-adjudicate his application. Id. ¶ 37. He also claimed that USCIS’s revision of its Policy Manual

was unlawful because it was accomplished without the notice and comment required under section

553 of the Administrative Procedure Act, 5 U.S.C. § 701 et seq. First Am. Compl. ¶¶ 28–36;

Gomez, 2020 WL 7419674, at *1–2.

       The amended complaint contained four counts:

               Count One: The agency’s decision denying plaintiff’s application for
               adjustment of status was arbitrary and capricious and should be set aside;

               Count Two: The agency’s decision denying plaintiff’s application for
               adjustment of status was not in accordance with the law and should be set
               aside;

               Count Three: USCIS failed to conduct the required notice and comment
               rulemaking when it added what plaintiff refers to as “a new legislative rule”
               to its Policy Manual; and

               Count Four: USCIS “unlawfully withheld and unreasonably delayed”
               a decision on plaintiff’s application for adjustment of status.

First Am. Compl. ¶¶ 23–37.

       Defendant moved to dismiss the case for lack of subject matter jurisdiction under Federal

Rule of Civil Procedure 12(b)(1), for failure to state a claim upon which relief may be granted

under Federal Rule of Civil Procedure 12(b)(6), and alternatively, to transfer the case to the

Northern District of Texas pursuant to 28 U.S.C. § 1404(a). Def.’s Mem. of P. & A. in Supp. of

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Mot. to Dismiss [Dkt. # 15-1] (“Mot. to Dismiss”); Gomez, 2020 WL 7419674, at *1. Defendant

stated that plaintiff, as a non-arriving alien, was required to seek review of the USCIS decision

before an immigration judge in the Department of Justice’s Executive Office of Immigration

Review (“EOIR”), instead of through an action in federal district court. Mot. to Dismiss at 6. On

September 22, 2020, plaintiff filed a motion for partial summary judgment on Counts One, Two,

and Four. Pl.’s Mot. for Partial Summ. J. [Dkt. # 19].

       On November 13, 2020, the Court held that, pursuant to 8 C.F.R. § 1.2, plaintiff does not

meet the definition of “arriving alien,” 1 and therefore his claims should have been submitted to an

EOIR immigration judge. 2        Gomez, 2020 WL 7419674, at *3–4; see also 8 C.F.R.

§§ 1240.1(a)(1)(ii), 1245.2(a)(1)(i). The Court concluded that it lacked the power to review

plaintiff’s status or grant the requested relief, and it dismissed Counts One, Two, and Four for lack

of subject matter jurisdiction and denied plaintiff’s partial motion for summary judgment for that




1      An “arriving alien” is defined as:

               [A]n applicant for admission coming or attempting to come into the United
               States at a port-of-entry . . . . An arriving alien remains an arriving alien
               even if paroled pursuant to section 212(d)(5) of the Act, and even after any
               such parole is terminated or revoked. However, an arriving alien who was
               paroled into the United States before April 1, 1997, or who was paroled into
               the United States on or after April 1, 1997, pursuant to a grant of advance
               parole which the alien applied for and obtained in the United States prior
               to the alien’s departure from and return to the United States, will not be
               treated . . . as an arriving alien under [8 U.S.C. § 1225(b)(1)(A)(i)].

8 C.F.R. § 1.2 (emphasis added). The Court determined plaintiff did not meet this definition
because he left the United States on August 11, 2016. See Gomez, 2020 WL 7419674, at *4.

2       Any decision by an immigration judge would not be reviewable by this Court. The denial
of plaintiff’s request must be appealed to the Board of Immigration Appeals, see 8 C.F.R.
§§ 1003.1(b), 1003.3(a), and then it may be appealed to the appropriate circuit court, see 8 U.S.C.
§ 1252(b)(2). See also Gomez, 2020 WL 7419674, at *4.

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reason. Gomez, 2020 WL 7419674, at *3–5. Because plaintiff lacked standing to challenge

the change to the Policy Manual, the Court dismissed Count Three for lack of jurisdiction. Id.,

at *5–6.

       On December 3, 2020, plaintiff moved to alter and/or amend this Court’s final judgment.

Mot. at 1. The matter has been fully briefed.

                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 59(e) allows a party to file “[a] motion to alter or amend

a judgment . . . no later than 28 days after the entry of the judgment.” Fed. R. Civ. P. 59(e).

The rule provides a “limited exception” to the rule that judgments should remain final. Leidos,

Inc. v. Hellenic Rep., 881 F.3d 213, 217 (D.C. Cir. 2018); Fed. R. Civ. P. 59(e). A Rule 59(e)

motion to alter or amend the judgment “is discretionary and need not be granted unless the district

court finds that there is an intervening change of controlling law, the availability of new evidence,

or the need to correct a clear error or prevent manifest injustice.” Trudel v. SunTrust Bank,

924 F.3d 1281, 1287 (D.C. Cir. 2019), quoting Firestone v. Firestone, 76 F.3d 1205, 1208

(D.C. Cir. 1996). While the Court has “considerable discretion in ruling on a Rule 59(e) motion,”

the alteration or amendment of the judgment is “nonetheless an extraordinary measure.” Leidos,

924 F.3d at 217. Accordingly, Rule 59(e) “may not be used to relitigate old matters, or to raise

arguments or present evidence that could have been raised prior to the entry of judgment.” Id.,

quoting Exxon Shipping v. Baker, 554 U.S. 471, 486 n.5 (2008).

                                           ANALYSIS

       Plaintiff argues first that the Court “overlooked” the argument that his departure in August

2016 terminated his removal proceedings. Mem. at 1–5. Plaintiff also maintains that the Court



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failed to apply “controlling authority,” that is, 8 C.F.R. § 245.1(c)(8)(ii), and the decision in

Hernandez-Serrano v. Barr, 981 F.3d 459 (6th Cir. 2020). Mem. at 3–7.

   I.       Plaintiff has not presented any intervening change in controlling law.

         Plaintiff did not direct the Court to any change of law within this jurisdiction. He states

that “recent authority” from the Sixth Circuit “supports [his] position,” and he cites a footnote in

Hernandez-Serrano, 981 F.3d at 459, 467 n.1. Mem. at 6. According to plaintiff, that circuit

“questioned whether a person even in unterminated removal proceeding[s] was barred from

adjusting status before the USCIS.” Id. But Sixth Circuit precedent is not binding on this Court,

and the situation in that case was inapposite in any event.

         Importantly, the petitioner in Hernandez-Serrano, unlike the plaintiff here, challenged

USCIS’s denial of his status adjustment in the appropriate fora. Hernandez-Serrano moved for

closure of his removal proceedings in the EOIR, see 8 C.F.R. §§ 1240.1(a)(1)(ii), 1245.2(a)(1)(i);

he appealed the EOIR’s decision to the Board of Immigration Appeals, see 8 C.F.R. §§ 1003.1(b),

1003.3(a); and finally, he petitioned the U.S. Court of Appeals for review, see 8 U.S.C.

§ 1252(b)(2). 981 F.3d at 461. These are precisely the procedural steps that were found to be

lacking in this case, see Gomez, 2020 WL 7419674, at *6, so plaintiff’s reliance on a footnote in

Hernandez-Serrano is misguided.

         Accordingly, the Court finds that plaintiff has failed to identify any intervening change in

controlling law that would merit alteration of its prior judgment.

   II.      Plaintiff has not identified a clear error or resulting manifest injustice in the
            Court’s decision.

         Plaintiff argues the Court “ignore[d]” his argument that he was no longer in

deportation proceedings and therefore not subject to the immigration judge’s exclusive


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jurisdiction.   Mem. at 3–7.       Specifically, plaintiff takes the position that, pursuant to

8 C.F.R. § 245.1(c)(8)(ii), his deportation proceedings terminated upon his voluntary departure

from the United States on August 11, 2016. Id. at 4.

        However, plaintiff fails to cite the full language of 8 C.F.R. § 245.1(c)(8)(ii), which states

that the provision only applies to “[a]ny alien who seeks to adjust status based upon a marriage

which occurred on or after November 10, 1986, and while the alien was in exclusion, deportation,

or removal proceedings, or judicial proceedings relating thereto.”           8 C.F.R. § 245.1(c)(8)

(emphasis added). Plaintiff did not assert marriage as the basis for his status adjustment.

        The regulations make it clear that plaintiff’s departure on August 11, 2016, under advance

parole left his deportation proceedings unaffected: pursuant to 8 C.F.R. § 223.2(f), the issuance

of a reentry permit (e.g., advance parole) and subsequent departure of a person “in exclusion,

deportation, or removal proceedings shall not affect those proceedings.”

        Next, plaintiff argues that the Court erred in its reliance on Meza v. Cuccinelli,

438 F. Supp. 3d 25 (D.D.C. 2020). Given the similarities between the two cases, the Court found

Meza to be instructive on the question of subject matter jurisdiction.                  See Gomez,

2020 WL 7419674, at *4–5. Plaintiff attempts to distinguish his case from Meza on the basis that

“there was no claim that [Meza] departed the U.S. following the issuance of a removal order.”

Mem. at 5. But this circumstance, as noted above, is irrelevant; Gomez’s departure under advance

parole had no effect on his removal proceedings. See 8 C.F.R. § 223.2(f). Thus, like the court in

Meza, this Court cannot “review the denial of an adjustment of status application [when] there is

a removal proceeding through which the plaintiff may seek relief.” 438 F. Supp. 3d at 32, citing,

inter alia, Maalouf v. Wiemann, No. 09-5394, 2010 WL 4156654, at *1 (D.C. Cir. May 17, 2010);

Randall v. Meese, 854 F.2d 472, 480–81 (D.C. Cir. 1988). Plaintiff may seek relief by “mov[ing]

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to reopen his removal proceedings and adjudicate[ing] his adjustment of status application.”

Gomez, 2020 WL 7419674, at *4. But it will be an immigration judge, and not a district judge,

who will have “exclusive jurisdiction to adjudicate any application for adjustment of status” that

an alien may file. 8 C.F.R. § 1245.2(a)(1)(i); see Meza, 438 F. Supp. 3d at 34. Therefore, the

Court’s reference to Meza in its opinion did not render its ruling incorrect or unjust.

                                          CONCLUSION

       Plaintiff has not identified any intervening change in controlling law, clear error, or

resulting manifest injustice in the Court’s prior decision. 3 Because plaintiff has not supplied any

basis to find that this Court erred in its determination that it lacks subject matter jurisdiction over

plaintiff’s claims, it is hereby ORDERED that plaintiff's Motion to Alter and/or Amend Judgment

[Dkt. # 23] is DENIED.



                                               _______________________
                                               AMY BERMAN JACKSON
                                               United States District Judge

DATE: April 8, 2021




3      Plaintiff has not asserted the availability of new evidence, and therefore the Court does not
consider that basis for revisiting its decision.

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